

People v Wagoner (2022 NY Slip Op 00619)





People v Wagoner


2022 NY Slip Op 00619


Decided on January 28, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 28, 2022

PRESENT: CARNI, J.P., LINDLEY, NEMOYER, CURRAN, AND WINSLOW, JJ. (Filed Jan. 28, 2022.) 


MOTION NO. (1180/20) KA 16-02366.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vTINA L. WAGONER, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for reargument denied.








